                   Case 14-11269-RAM               Doc 80      Filed 02/12/16         Page 1 of 3




     ORDERED in the Southern District of Florida on February 11, 2016.




                                                                           Robert A. Mark, Judge
                                                                           United States Bankruptcy Court
_____________________________________________________________________________




                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                                www.flsb.uscourts.gov



  In re: Angelica Pita                                                 Case No: 14-11269
                                                                       Chapter 13


                        Debtor                 /

   AMENDED1 ORDER GRANTING MOTION TO VALUE AND DETERMINE SECURED
    STATUS OF LIEN ON REAL PROPERTY HELD BY DEUTSCHE BANK NATIONAL
              TRUST COMPANY (SERVICED BY OCWEN) XXXX7534

          THIS CASE came to be heard on July 1, 2014 on the Debtor’s Motion to Value and

  Determine Secured Status of Lien on Real Property (DE 33; the “Motion”).

  Based upon the debtor’s assertions made in support of the Motion, without objection,

  having considered the record in this case, and being duly advised in the premises, the


  1 Amended to reflect the correct creditor, value, mortgage recording information, property address and legal

  LF-92 (rev. 01/08/10)                              13
                 Case 14-11269-RAM              Doc 80   Filed 02/12/16   Page 2 of 3



Court FINDS as follows:

         A.       The value of the debtor’s real property (the “Real Property”) located at 11917

                  SW 110th Street Circle E, Miami, FL 33186, and more particularly described

                  as LOT 24, BLOCK 11, DEVON-AIRE VILLAS, SECTION THREE,

                  ACCORDING TO THE PLAT THEREOF AS RECORDED IN PLAT BOOK

                  107, PAGE 13, PUBLIC RECORDS OF MIAMI-DADE COUNTY, FLORIDA is

                  $ 125,000.00 at the time of the filing of this case.

         B.       The total of all claims secured by liens on the Real Property senior to the lien

                  of Deutsche Bank National Trust Company (Serviced by Ocwen Loan No:

                  xxxx7534) (the “Lender”) is $ 218,415.00.

         C.       The equity remaining in the Real Property after payment of all claims

                  secured by liens senior to the lien of Lender is $0.00 and Lender has a

                  secured interest in the Real Property in such amount.

         Consequently, it is ORDERED as follows:

         1.       The Motion is GRANTED.

         2.       Lender has an allowed secured claim in the amount of $0.00.

         3.       Because Lender’s secured interest in the Real Property is $0, Lender’s

                  mortgage recorded on 11/09/2006 at OR BOOK 25085 Page 4216 of the

                  official records of Miami-Dade County, Florida shall be deemed void and

                  shall be extinguished automatically, without further order of the Court, upon

                  entry of the debtor’s discharge in this chapter 13 case. If this case is

                  converted to a case under any other chapter or if the chapter 13 case is



description as stated in the Motion to Value.

LF-92 (rev. 01/08/10)                            23
              Case 14-11269-RAM           Doc 80      Filed 02/12/16    Page 3 of 3



              dismissed, Lender’s mortgage will no longer be considered void and shall be

              restored as a lien on the Real Property.

       4.     (Select only one):

                X       Lender has not filed a proof of claim in this case. The trustee shall

                        not disburse any payments to Lender unless a proof of claim is timely

                        filed. In the event a proof of claim is timely filed, it shall be classified

                        as a secured claim in the amount stated in paragraph 2, above, and

                        as a general unsecured claim for any amount in excess of such

                        secured claim, regardless of the original classification in the proof of

                        claim as filed; OR

                        Lender filed a proof of claim in this case. It shall be classified as a

                        secured claim in the amount provided in paragraph 2, above, and as a

                        general unsecured claim in the amount of $ ______, regardless of the

                        original classification in the proof of claim as filed.

       5.     The Real Property may not be sold or refinanced without proper notice and

              further order of the Court.

       6.     Notwithstanding the foregoing, this Order is not recordable or enforceable

              until the debtor receives a discharge in this chapter 13 case.

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Submitted By:
Robert Sanchez, P.A.
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Hialeah, FL 33012
Tel: (305) 687-8008

Attorney Robert Sanchez, Esq. is directed to serve a conformed copy of this Order on all
interested parties immediately upon receipt hereof and to file a certificate of service.

LF-92 (rev. 01/08/10)                        33
